                                IN THE U.S. DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

LATIN MANAGEMENT                                )
ENTERPRISES, LLC,                               )
                                                )
                   Plaintiff,                          Case No. 3:22-cv-00523
v.                                              )
                                                )      U.S. District Aleta A. Trauger
LA COSTA NAYARITA, INC., and                    )      Magistrate Judge Newbern
OSWALDO OMAR MEDINA                             )
                                                )      JURY TRIAL DEMANDED
                   Defendants.                  )
                                                )


                       NOTICE OF APPEARANCE OF TAYLOR J. ASKEW

         Taylor J. Askew of the law firm of Waller Lansden Dortch & Davis, LLP hereby enters

his appearance as counsel of record for Defendants La Costa Nayarita, Inc. and Oswaldo Omar

Medina in this cause of action.



                                                    Respectfully submitted,


                                                    /s/ Taylor J. Askew
                                                    Taylor J. Askew (TN BPR No. 33193)
                                                    Julian L. Bibb IV (TN BPR No. 34149)
                                                    David J. Zeitlin (TN BPR No. 037664)
                                                    Waller Lansden Dortch & Davis, LLP
                                                    Nashville City Center
                                                    511 Union Street, Suite 2700
                                                    Nashville, Tennessee 37219-8966
                                                    615.244.6380

                                                    Attorneys for Defendants




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                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing has been served via the
Court’s ECF system upon the following:

         Michael A. Johnson
         Fred D. Thompson, III
         KAY GRIFFIN, PLLC
         222 Second Avenue North
         Nashville, TN 37201
         (615) 742-4800
         mjohnson@kaygriffin.com
         dthompson@kaygriffin.com

         Attorneys for Plaintiff

on this 10th day of August, 2021.

                                                     /s/ Taylor J. Askew




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